
*PER CUR.
“The Court is of opinion, that the information, or additional testimony of Joseph Robinson, who was a witness to the will of Jesse Payne, the testator in the bill named, given at the time he proved the said will in the County Court of Goochland, without any notice thereof to the parties interested in the estate of the testator, in order to prove the desires of the testator, and to explain the written will exhibited in Court for proof only, ought not to have been admitted, or registered, with the probate of the said testament, or read in evidence in this cause, without the consent of the parties ; and this Court, being of opinion that the appellant is, under the residuary devise in the said will, entitled, in right of his late wife Prances, who was widow and one of the residuary legatees of the testator, Jesse Payne, to one-third part of the eight slaves devised by the will of the said Jesse, to the said Prances for life, and to one third of their increase, with their profits since the death of the said Prances; and, that so much of the decree aforesaid, as directs the appellant to deliver up to the appellee more than two thirds of the said slaves, with their increase, and to account for their profits, is erroneous; doth decree and order, that so much of the said decree as is herein before stated to be erroneous, be reversed and annulled-, and that the residue thereof be affirmed.”
